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AO 456 (Rev. 5/85) Notice

United States District Court

SOUTHERN DISTRICT OF OHIO

UNITED STATES OF AMERICA NOTICE

TAMAYA DENNARD,

case Numer: 1:20mj128
( Litkovitz, MJ )

 

TYPE OF CASE

oO CIVIL

[x] CRIMINAL

 

TAKE NOTICE that a proceeding in this case has been set for the place, date, and time set forth below:

 

PLACE

Potter Stewart U.S. Courthouse

100 East Fifth Street

Cincinnati, Ohio 45202

ROOM NO.
701

 

 

DATE AND TIME
Monday, March 16,

2020 at 1:30 pm

 

TYPE OF PROCEEDING

Preliminary Hearing on Criminal Complaint before the Honorable Stephanie K. Bowman, U.S.

Magistrate Judge

TAKENOTICE that the proceeding in this case has been continued as indicated below:

 

PLACE
Potter Stewart U.S. Courthouse

100 East Fifth Street
Cincinnati, Ohio 45202

 

DATE AND TIME PREVIOUSLY SCHEDULED

 

RESET TO, DATE AND TIME

 

February 25, 2020

Nate

To: Eric Laursen, Esq. (retained)

CC: U.S. Pretrial Services
U.S. Probation
U.S. Marshal’s Office

RICHARD W. NAGEL
11S Manistrate or Clark of Court

s/Arthur Hill
(BY) DEPUTY CLERK

U.S. Attorney's Office (Emily Glatfelter, AUSA)

NOTE: It is the responsibility of Counsel to notify their clients.
